          Case 5:22-cv-00432-FB Document 7 Filed 07/11/22 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

CHARLES P. CHAPEAU and                   §
DARLA CHAPEAU                            §
         Plaintiffe,                     §

                                         §

v.                                       §       CASE NO. 5:22-cv-00432

                                         §
CARRINGTONMORTGAGE                       §
SERVICES, LLC                            §
         Defendant,                      §


                           JOINT. STIPULATION OF DISMISSAL

        Plaintiff C,harles P. Chapeau and Darla Chapeau ("Plaintiff') and Defendant
                                 ;

Carrington Mortgage Services, LLC ("Defendant") ("collectively the "Parties"), by

and thr6ugh therr undersigned counsel, hereby stipulate and agree that pursuant to

Federal Rule of Civil Procedure 41(a)(l)(A)(ii), all claims and causes of action
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asserted or could have been asserted by Plaintiff against Defendants are hereby

dismissed with prejudice, pursuant to the Parties' agreement.




Joint Stipulation ofDisn,issal                                             Page I of3
         Case 5:22-cv-00432-FB Document 7 Filed 07/11/22 Page 2 of 3




                                         Respectfully submitted,

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Joint Stipulation ofDismissal                                          Page2of3
         Case 5:22-cv-00432-FB Document 7 Filed 07/11/22 Page 3 of 3




                                CERTIFICATE OF SERVICE
        I hereby certify that on this_
                                     11thday of July, 2022, a true and correct copy of

the foregoing document was served on all parties and counsel of record.

                                                  Isl George G. Robertson
                                                  George G. Robertson




Joint Stipulation ofDismissal                                                 Page 3 of3
